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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

CRIMINAL NO. 21-CR-20693

Vv.

HON. GEORGE CARAM STEEH
D-] VERDINE DAY,

Defendant.

 

DEFENDANT’S ACKNOWLEDGMENT OF INFORMATION

 

I, VERDINE DAY, Defendant in this case, hereby acknowledge that I have
received a copy of the Information before entering my plea, and that I have read it

and understand its contents.

I know that if I am convicted or plead guilty, I may be sentenced as follows:

As to Count One: ry | “po
Bank Fraud a un - | |

N f 3 Bt
18 U.S.C. § 1344(2) ae

BoP ee om

Thirty years imprisonment, a $1,000,000 fine, or both

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VERDINE DAY
Defendant

 
   

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ACKNOWLEDGMENT OF DEFENSE COUNSEL
I acknowledge that I am counsel for Defendant and that I have received a copy
of the Standing Order for Discovery and Inspection which requires all pre-trial

motions to be filed within twenty (20) days of arraignment.

  

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WILLIAM R. FORD
Counsel for Defendant

 

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Dated:

 
